Case 2:20-cv-04720-MCA-MAH    Document 121-1   Filed 05/25/22    Page 1 of 20 PageID:
                                     1888




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

  ____________________________________
  CHRISTOPHE SOULIER,                  :
                                       :
        Petitioner,                    : CASE NO.: 2:20-cv-04720-MCA-MAH
                                       :
  v.                                   :
                                       :
  AKIKO MATSUMOTO,                     :
                                       :
        Respondent.                    :
  ____________________________________:




                       PETITIONER’S SUMMATION BRIEF
                                    AND
                 FINDINGS OF FACT AND CONCLUSIONS OF LAW




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Case 2:20-cv-04720-MCA-MAH   Document 121-1   Filed 05/25/22   Page 2 of 20 PageID:
                                    1889



                             TABLE OF CONTENTS

                                                                          PAGE

  I.     INTRODUCTION AND SUMMATION……………………………………………..….4

  II.    PROCEDURAL HISTORY………………………………………………………..……..6

  III.   STATEMENT OF FACTS ……………………………………………………….…...….6

         A. PROPOSED FINDINGS OF FACT………………………………………….…….…7
  .
  IV.    LEGAL ARGUMENT…………………………………………………………..….……13

         A. PROPOSED CONCLUSIONS OF LAW……………………………………………15

  V.     CONCLUSION…………………………………………………………….……..……...19




                                      1
Case 2:20-cv-04720-MCA-MAH        Document 121-1     Filed 05/25/22    Page 3 of 20 PageID:
                                         1890



                                TABLE OF AUTHORITIES

  Cases                                                                        PAGE

  Feder v. Evans-Feder, 63 F.3d 217, 224 (3d Cir. 1995)……………………………………...17,18

  Garcia v. Penelo, 808 F.3d 1158, 1169 (7th Cir. 2015)…………………………………….…14

  Gitter v. Gitter, 396 F.3d 124, 132–33 (2d Cir. 2005)……………………..…………………17

  Karpenko v. Leendertz, 619 F.3d 259, 263 (3d Cir. 2010)…………………...………………15,16

  Karkkainen v. Kovalchuk, 445 F.3d 280, 287 (3d Cir.2006)…………………………………15,16

  Lozano v. Montoya Alvarez, 134 S.Ct. 1224, 1231 (2014)………………………..………….19

  Monasky v. Taglieri, 140 S.Ct. 719 (2020)……………………………………………...……13

  Paulus v. Cordero, No. 12-986, 2012 U.S.Dist. LEXIS 90374, at *8
  (M.D. Pa. June 29, 2012)………………………………………………………………..……16

  Romanov v. Soto, (3:21-cv-779-MMH-MCR, U.S.D.C., M.D.Fla., Feb.7, 2022)…………...13

  Tsai-Yi Yang v. Fu-Chiang Tsui, 499 F.3d 259, 270 (3d Cir. 2007)…..……………………..14,16

  Saltos v. Severino, (D.N.J. July 25, 2018), Civil Action No.: 18-8704, (JLL)……………….17

  Silverman v. Silverman, 338 F.3d 886, 898 (8th Cir. 2003)……………………………...…..18

  Whiting v. Krassner, 391 F.3d 540 at 542 (3d Cir. 2004, 391)………………………..……..17




                                             2
Case 2:20-cv-04720-MCA-MAH        Document 121-1   Filed 05/25/22   Page 4 of 20 PageID:
                                         1891



  Rules, Statutes and Other Authorities

  22 U.S.C. § 9003………………………………………………………………….……….…15,16

  Hague Convention, Article 3……………………………………………………..…….….....15

  Hague Convention, Article 12……………………………………………………..................18




                                           3
Case 2:20-cv-04720-MCA-MAH             Document 121-1       Filed 05/25/22     Page 5 of 20 PageID:
                                              1892




  I.     INTRODUCTION AND SUMMATION

         The facts and the law of the case are clear, pursuant to the Hague Convention, this Court

  should return the children of the parties to their habitual residence at the time of the wrongful

  retention by the Respondent on July 10, 2019.

         Under the Hague Convention and U.S. Statute and case law, the habitual residence at the

  time of the wrongful retention was Belgium.

         At trial, the testimony of the parties and witnesses, including the children’s pediatrician

  and paternal grandmother, and the documentary evidence presented confirmed that the parties

  had a demonstrated shared intent for their children to temporarily go to school in New Jersey for

  one year and to return on July 10, 2019 with a written and signed agreement to this effect dated

  December 30, 2018 and the Respondent had taken the initiative on her own accord to registering

  her and the children as temporarily leaving from Belgium in August 2018. The testimony and

  relevant actions of the Petitioner were fully aligned with the shared intent that his Wife and the

  children were returning home as of the summer of 2019, solving in good faith the schooling issue

  that initially triggered the 1-year trip to New Jersey.

         And, the Respondent admitted as much in her testimony, agreeing that without the

  Petitioner finding employment in New Jersey, which Petitioner confirmed in his testimony was

  not possible at the time, the shared intent of the parties was for the children only to be in New

  Jersey temporarily.    Her actions confirm as much, in that her employment, car and living

  arrangements were all temporary that year.

         Therefore, the perspective of the children as to their “trip” to New Jersey was that it was

  temporary. The children could not have acclimatized to New Jersey in that year and at the time

  of the wrongful retention, with the understanding and perspective that their stay was a temporary

                                                    4
Case 2:20-cv-04720-MCA-MAH              Document 121-1         Filed 05/25/22     Page 6 of 20 PageID:
                                               1893



  one. Most of their belongings were left in Belgium, at their home and in their bedrooms where

  they lived all their lives, as were their schools and friends that had a party for them before their

  well-known one year trip to New Jersey. Their paternal grandparents, uncles, aunts, and cousins

  live nearby in France, where the beach and country vacation homes are that they stayed at with

  their paternal family throughout their lives. The parties’ youngest child, only four years old at the

  time of the wrongful retention on July 10, 2019 was simply too young to have acclimatized to

  New Jersey, as was arguably the parties’ oldest daughter, who was only nine years old at the

  time of the wrongful retention, and is only twelve years old today.

            Importantly, the parties’ daughter’s interview and testimony at trial indicated that she did

  not have an objection to returning to Belgium. She had only mild concerns about its effect on

  her friends and her level of fluency in French, a language that trial testimony by witnesses

  confirmed she exclusively used with her paternal grandparents, her pediatrician and when she

  attended French speaking daycare.

            In addition, pursuant to the Hague Convention, the Respondent’s deceit and unjustifiable

  conduct, by wrongfully retaining the children in the United States, should not be rewarded

  because she gained the benefit and leverage of lengthy litigation and an unforeseen Covid-19

  crisis.

            Therefore, pursuant to the Hague Convention and U.S. Statute and case law, and

  considering the “totality of circumstances” and common sense, the children should be returned

  to Belgium. The totality of circumstances includes: (1) the demonstrated shared intent of the

  parties and shared settled purpose, when the children left for New Jersey in August 2018 and

  December 2018, was that the children return to Belgium on July 10, 2019, thus the habitual

  residence of the children continued to be Belgium at the time of the wrongful retention of the



                                                     5
Case 2:20-cv-04720-MCA-MAH              Document 121-1       Filed 05/25/22     Page 7 of 20 PageID:
                                               1894



  parties’ children on July 10, 2019; (2) these young children had a “temporary” perspective as to

  their trip to New Jersey and consequent lack of acclimatization to New Jersey in 2018-2019,

  again supporting a finding that the habitual residence of the children at the time of the wrongful

  retention was Belgium; (3) the lack of any objection today by the children to return; and, (4) the

  return to Belgium would allow the children to have ready access to their paternal grandparents

  and paternal extended family in France and the rich, cosmopolitan life they led of a bilingual

  education, vacations to the beaches of France and skiing in the Alps, as opposed to their only

  extended family in New Jersey being their maternal grandmother.

          Common sense demands that the children should be returned to Belgium, their habitual

  residence at the time of the wrongful retention, where they will once again be in their home

  where they grew up and be able to be with their father, their loving paternal grandparents that are

  both retired physicians, their extended paternal family in Paris and their friends in Brussels. The

  Respondent could elect to return to Belgium without any constraints, seek employment and be an

  integral part in the lives of the parties’ children.

  II.     PROCEDURAL HISTORY

          The procedural history is fully set forth in Petitioner’s Procedural History in the Joint

  Proposed Final Pre-Trial Conference Order of April 25, 2022, incorporated herein by reference.

          The trial in this matter was held on April 27, 2022, April 28, 2022 and April 29, 2022

  before this Court.

  III.    STATEMENT OF FACTS

          Petitioner, in part, relies on his Hague Convention Petition filed with this Court on April

  21, 2020, as to the facts of this case, in which he is seeking the return of the children from the

  U.S. to Belgium and Petitioner’s Statement of Facts, Stipulated Facts and Petitioner’s Contested



                                                         6
Case 2:20-cv-04720-MCA-MAH           Document 121-1         Filed 05/25/22     Page 8 of 20 PageID:
                                            1895



  Facts in the Joint Proposed Final Pre-Trial Conference Order of April 25, 2022, incorporated

  herein by reference.

         As to the facts illuminated at trial, demonstrated by the testimony of witnesses and

  documentary evidence, they support and confirm that the habitual residence of the children at the

  time of the wrongful taking on July 10, 2019 was Belgium and that there was no objection by the

  children to being returned to Belgium. (See attached trial transcript Exhibits T1, T2 and T3 (T1

  - Trial Transcript Volume 1, April 27, 2020, pgs 1-219; T2 -Trial Transcript Volume 2, April 28,

  2020, pgs 1-290; T3- Trial Transcript Volume 3, April 29, 2020, pgs 1-44).

         A.      PROPOSED FINDINGS OF FACT

                 This Court should find the following findings of fact:

                 1. The children of the parties’ were born in Brussels, Belgium and lived their

                    entire lives in Brussels, Belgium before August 2018. See T1, pg. 22 ln 17-22;

                    T2, pg.221 ln 7-10.

                 2. The parties children are French and U.S. citizens and citizens of the European

                    Union. See T1, pg.62 ln 6 – pg. 64 ln 3.

                 3. The parties lived together for fifteen years in Brussels, Belgium, after their

                    marriage. See T1, pg. 21 ln 9-21.

                 4. Both of the children of the parties’ attended French speaking daycare. See T1,

                    pg. 42, ln 2-7; T2, pg. 264 ln 3-5.

                 5. The children of the parties spoke exclusively French to their pediatrician and

                    grandmother. See T1, pg. 116 ln 10-17; T2, pg. 40 ln 6-20; T2, pg. 46 ln 15-

                    16; T3, pg 40 ln 4-26, T3, pg. 10 ln 5-10.




                                                  7
Case 2:20-cv-04720-MCA-MAH        Document 121-1       Filed 05/25/22      Page 9 of 20 PageID:
                                         1896



             6. The children’s perspective on travelling to New Jersey in August 2018 was

                that it was a temporary trip for one year. See T1, pg. 97 ln 18-pg.98 ln 12; T2,

                pg. 249 ln 6-9.

             7. The parties’ daughter had friends in Brussels. See T1, pg. 29 ln 15 – pg. 30 ln

                4; T2, pg. 257 ln 10-12.

             8. It was understood by the parties’ friends in Brussels, family in Paris and the

                children’s pediatrician that the trip to New Jersey beginning in August 2018

                was to be temporary and only for one year. See T1, pg. 60 ln 6-22; T2, pg. 23,

                ln 19-22; T2, pg. 38 ln 17- pg. 39 ln 4; T2, pg. 10 ln 20 – pg. 11 ln 11; T2 pg.

                34 ln 3-5; T3, pg. 38 ln 7-20.

             9. The parties co-signed in 2016 a nine-year lease for their home in Brussels

                prior to the trip to New Jersey in August of 2018. See T1, pg. 23 ln 7-21.

             10. The parties’ daughter was thrown a party by her friends in Brussels before she

                left in August 2018. See T2, pg. 248 ln 24- pg. 249 ln 5. ln 7-21.

             11. The parties’ children spent vacations with their paternal grandparents and

                extended paternal family, including their two uncles and aunts and their

                children, in vacation homes on the beach and in the countryside of France.

                See T1, pg 210 ln 7 – 15; T3, pg 35, ln 14-25.

             12. The parties’ children visited with their paternal grandparents and extended

                family in Paris, France and their paternal grandparents visited with them in

                Brussels. See T1, pg. 30 ln 5016; T1, pg. 32 ln 14-pg. 33 ln 2; T1, pg. 162 ln

                2-pg. 163 ln 1.




                                                 8
Case 2:20-cv-04720-MCA-MAH         Document 121-1        Filed 05/25/22     Page 10 of 20
                                    PageID: 1897



          13. The parties’ daughter had dance lessons, went horseback riding, sailing and

             skiing, while living in Belgium. See T1, pg. 28 ln 19- pg. 29 ln 14; T1, pg.

             205 ln 11- 21; T2, pg. 37 ln 11 – pg. 38 ln 10; T2, pg. 256 ln 20 – pg. 257 ln 9.

          14. The Respondent registered her and the children as leaving Belgium

             “temporarily” in August 2018. See P2, T1, pg. 58 ln 15 – pg. ln 5; T1, pg. 61

             ln 8-19.

          15. The Petitioner signed his permission for the children to take a “trip” to New

             Jersey in August of 2018. See P1/J1; T1, pg. 55 ln 12 – pg. 58 ln14.

          16. Most of the children’s belongings were left behind in Belgium in their

             bedrooms of their home in Brussels, when they left for their trip to New

             Jersey in August of 2018. See T1, pg. 24 ln 4-5.

          17. The parties signed an agreement on December 30, 2018 for the children to

             return to Belgium on July 10, 2019. See P1/J1, T1, pg.69 ln 23 – pg. 72 ln 15;

             T2, pg. 248 ln 15 – 23.

          18. The parties demonstrated their shared intent for the children to return to

             Belgium on July 10, 2019. See P1/J1; T, pg. 68 ln 11 – pg. 69 ln 7.

          19. The Petitioner was exercising his custody rights with the children in Belgium

             as he lived with them and the Respondent in Brussels; See T1, pg. 22 ln 23 –

             pg. 4 ln 5; T2, pg. 256 ln 8 – 10.

          20. The Petitioner was exercising his custody rights while the children were in

             New Jersey from August 2018 to July 10, 2019, as he visited them on multiple

             occasions and went on vacation with them and the Respondent during this




                                           9
Case 2:20-cv-04720-MCA-MAH        Document 121-1        Filed 05/25/22    Page 11 of 20
                                   PageID: 1898



             time in the United States. See T1, pg. 78 ln 15 – pg. 80 ln 2; T1, 95 ln 16 –

             pg. 97 ln 2.

          21. The Petitioner has continued to exercise his custody rights since July 10,

             2019, visiting with the children in New Jersey and taking them on vacations

             including Disney World, despite the difficulties posed by the Covid 19

             pandemic and the refusal of the Respondent to let the children travel to

             Europe when possible. See T1, pg. 92 ln 3 – pg. 95 ln 10.

          22. The Respondent did not return the children to Belgium on July 10, 2019. See

             T2, pg. 245 ln 17 – pg. 247 ln 2.

          23. The parties’ children were nine and four years old on July 10, 2019. See T1,

             pg. 19 ln 2-3.

          24. The Respondent understood the trip to New Jersey to be temporary if the

             Petitioner did not find employment in New Jersey. See R36, T2, pg. 249 ln

             15-pg. 253 ln 19; T2, pg. 262 ln 2 – 17.

          25. The Petitioner did not find employment in New Jersey from August 2018-July

             10, 2019. See R78; T1, pg. 80 ln 3-pg. 81 ln 13; T1, pg. 82 ln 23 – pg 86 ln

             23; T1, pg. 181 ln 6-pg. 182 ln 2; T2, pg. 260 ln 15 – 18.

          26. The Respondent understood that the Petitioner would not agree to the children

             living permanently in New Jersey if he did not find employment in New

             Jersey. See T1, pg. 89 ln 17-pg. 91 ln 6; T1, pg. 178 ln 5-11; T2, pg. 236 ln

             19-pg. 237 ln 9.




                                          10
Case 2:20-cv-04720-MCA-MAH          Document 121-1        Filed 05/25/22   Page 12 of 20
                                     PageID: 1899



          27. The Respondent sought legal counsel in February 2019 regarding the retention

             of the children in New Jersey before the Petitioner brought up the schooling

             solution in Brussels. See T2, pg. 254 ln5-pg. 255 ln 14.

          28. The Petitioner made arrangements for the children to return to school in

             Belgium in March of 2019. See T1, pg. 46 ln 1-22; T1 pg. 75 ln 13 – pg. 78

             ln 12; T2, pg. 240 ln 11-21.

          29. The Respondent’s employment, vehicle and living arrangements were all

             temporary from August 2018- July 10, 2019. See T1, pg. 60 ln 23- pg. 61 ln

             7; T1, pg. 64 ln 4 – pg. 67 ln 14.

          30. The Respondent filed for custody in the State of New Jersey, Superior Court,

             Bergen County, under the UCCJEA in May 2019, and the Court declined

             jurisdiction due to the unjustifiable conduct of the Respondent on August 2,

             2019. The Respondent then appealed this decision to the Appellate Division,

             State of New Jersey. See T1, pg. 15 ln 19 – pg. 16 ln 3.

          31. The Respondent filed for custody, when the Petitioner was visiting with the

             children in New Jersey on vacation with the Respondent in May of 2019,

             without advising the Petitioner at that time she was doing so. See T1, pg. 15

             ln 19 – pg. 16 ln 3; T1, pg. 88 ln 5 – pg. 89 ln 13.

          32. On April 21, 2020, the Petitioner filed a Hague Convention Petition in the

             United States District Court in the District of New Jersey. See P4a, T1, pg. 15

             ln 19 – pg. 16 ln 3.




                                            11
Case 2:20-cv-04720-MCA-MAH         Document 121-1          Filed 05/25/22      Page 13 of 20
                                    PageID: 1900



          33. On May 11, 2020, the Respondent filed a Motion to Dismiss the Petitioner’s

             Hague Convention Petition to the United District Court in the District of New

             Jersey. See T1, pg. 15 ln 19 – pg. 16 ln 3.

          34. The Respondent did not, after a request by the Petitioner, allow the children to

             visit Europe in the summer of 2021. See T2, pg. 242 ln 12 – 19.

          35. The children have multiple options of attending school upon their return to

             Belgium including the International School of Brussels (“ISB”), the Lycee

             Francais and the local schools of Brussels, but the Petitioner will make

             arrangements for the parties’ daughter to attend the same school, namely

             “ISB.” See T1, pg. 24 ln 6-pg. 25 ln 22; T1, pg. 42 ln 16 – pg. 44 ln 8; T1, pg.

             97 ln 6 – ln 17; T2, pg. 243 ln 7 – 15.

          36. The parties’ daughter did not raise any objections to returning to Belgium, but

             only concerns about her fluency in French and friends in Belgium and New

             Jersey. See T1, pg. 211 ln 3-15.

          37. The parties’ children’s paternal grandparents are both retired physicians. See

             T1, pg. 30 ln 18 – pg. 31 ln 16; T3, pg. 38 ln 11 – 13.

          38. The parties’ children’s paternal grandmother cannot visit her grandchildren in

             the United States due to health issues. See T3, pg. 39 ln 5-11.

          39. The parties’ children’s paternal grandparents and their extended paternal

             family have not seen the parties’ children since they left to go back to New

             Jersey in December of 2018. See T1, pg. 31 ln 17 – 24; T1, pg. 68 ln 3-10;

             T3, pg. 37 ln 19-21; T3, pg. 40 ln 7-11; T2, pg. 241, ln 16-23.




                                           12
 Case 2:20-cv-04720-MCA-MAH              Document 121-1         Filed 05/25/22    Page 14 of 20
                                          PageID: 1901



               40. The Petitioner is requesting the return of the children to Belgium. See T1, pg.

                   18, ln 16-19.

IV.    LEGAL ARGUMENT

       As to the law of this case on jurisdiction, the Hague Convention, habitual residence,

affirmative defenses and governing standards, Petitioner, in part, relies on his Hague Convention

Petition filed with this Court on April 21, 2020, Petitioner’s Statement of Legal Issues and

Governing Standards in the Joint Proposed Final Pre-Trial Conference Order of April 25, 2022

and his letter brief of April 24, 2022, incorporated herein by reference.

       Petitioner’s additional legal argument below focuses for the Court on specific recent case

law at issue and on point with the decision before this Court to return the children to Belgium.

       First, the issue of habitual residence and the return of the children to Belgium must be

determined by this Court in the context of the “totality of the facts” of the Petition. In Monasky

v. Taglieri, 140 S.Ct. 719 (2020), the Supreme Court held that a child’s habitual residence

depends on where the child regularly resides. However, the inquiry to determine residence is

based on the context of a case— a totality of circumstances standard. In the instant case, this

would include the shared intent of the parties in their written agreement of December 30, 2018,

the temporary nature of the trip to New Jersey from the perspective of the children and the trips

settled purpose as revealed by the actions of their parents, paternal family members and friends

in Belgium. In addition, clearly, the children had regularly resided in their home in Brussels for

the entirety of their lives prior to their trip in August 2018 to New Jersey.

       In Romanov v. Soto, (3:21-cv-779-MMH-MCR, U.S.D.C., M.D.Fla., Feb.7, 2022),

importantly decided AFTER Monasky, in a case factually similar with two children of

disparate ages, despite interviews of the children objecting to their return to Canada from



                                                 13
 Case 2:20-cv-04720-MCA-MAH             Document 121-1         Filed 05/25/22      Page 15 of 20
                                         PageID: 1902



the United States, the Court, held that “it is appropriate to exercise its discretion to return both

of the Children to Canada together. To do otherwise in this case would reward the wrongful

retention and “signal that a parent might escape the Convention by running out the clock until the

wrongfully retained child became accustomed to her new home.” See Garcia v. Pinelo, 808 F.3d

1158, 1169 (7th Cir. 2015). “Here, to the extent the Children have developed an objection to

return, it is predominately based on the happiness they have found in California. The Children

like their home, the climate, their friends and their schools in California. It bears noting,

however, that the Children did not move to California until August 21, 2021, five months after

they should have returned to Canada. Moreover, any preference stated by the Children during

their November 17, 2021 interview for remaining in California is based on attachments formed

in only the three months they had been living there, all while this lawsuit was pending. Refusing

to return the Children under these circumstances would reward the decision to wrongfully

retain the Children and encourage parents to evade or extend Hague proceedings for as

long as possible in the hopes that a child will grow attached to her new home and object to

repatriation.” See Pinelo, 808 F.3d at 1169; Tsai-Yi Yang, 499 F.3d at 280.

       In the instant case, the Respondent should not be rewarded for her wrongful retention of

the children and her prolonging the litigation in this matter in the hopes that this Court would

find that the parties’ daughter, more specifically, grew attached to New Jersey. The parties’

daughter alone should not be in a position to make the decision for everyone else, including the

parties’ younger son, and her parents, especially when the parties clearly demonstrated their

“shared intent” that the children return to Belgium.          It was also the daughter’s clear

understanding prior to leaving that her stay would be temporary ( 1 year) to manage the

schooling issue in Belgium.



                                                14
Case 2:20-cv-04720-MCA-MAH        Document 121-1       Filed 05/25/22     Page 16 of 20
                                   PageID: 1903



    A. PROPOSED CONCLUSIONS OF LAW

       This Court should conclude the following conclusions of law:

       1. This Court has jurisdiction pursuant 22 U.S.C. § 9003(a), which provides

          that "[t]he courts of the States and the United States district courts shall

          have concurrent original jurisdiction of actions arising under the Hague

          Convention."

       2. The Petitioner has proven, under the Hague Convention, by a preponderance

          of the evidence that the children's habitual residence was in a signatory State

          (Belgium) and that the children were wrongfully retained. Karpenko, 619 F.3d

          at 263 (citing Karkkainen v. Kovalchuk, 445 F.3d 280, 287 (3d Cir.2006).

       3. The retention of the parties’ children was wrongful under Hague Convention

          Article 3, as it was in breach of the Petitioner’s custody rights where the

          children were habitual residents immediately before the retention, namely

          Belgium; and, at the time of the retention the Petitioner did and would have

          exercised his custody rights but for the retention. Article 3 of the Hague

          Convention.

       4. The Petitioner has made out a prima facie claim for relief under the Hague

          Convention. Karkkainen, 445 F.3d at 287.

       5. The Respondent has not met her burden to assert an affirmative defense, as

          the children made no objection to their return and there was no grave risk

          shown to the children upon their return by clear and convincing evidence.

          Karpenko, 619 F.3d at 263 n.3; see also 22 U.S.C.A. § 9003(e)(2) (setting forth

          the burdens for each affirmative defense). In Tsai-Yi Yang, 499 F.3d 259, 279,



                                          15
Case 2:20-cv-04720-MCA-MAH         Document 121-1         Filed 05/25/22      Page 17 of 20
                                    PageID: 1904



          though the ten-year-old child did express some objections to returning to Canada,

          they were "not necessarily sufficient" to meet the exception. In the instant case,

          the younger child has voiced no objection and the oldest child only voiced

          concerns, certainly not sufficient to meet the exception. As to any grave risk upon

          return, it is the height of hypocrisy for the Respondent to even suggest it, there is

          no evidence of it, no expert testimony. And, certainly it is of less risk than what

          the Respondent has exposed the children to by wrongfully retaining the children

          here from their father, their home that they have lived in all of their lives and with

          little to no contact with their paternal family in France and their friends and

          schoolmates in Belgium.

       6. The date of wrongful retention by the Respondent was July 10, 2022. In the

          Third Circuit, courts have found that the retention date occurs when the

          travelling out of state parent fails to return the child. See Karkkainen, 45 F.3d

          at 290; Paulus v. Cordero, No. 12-986, 2012 U.S. Dist. LEXIS 90374, at

          *8 (M.D. Pa. June 29, 2012).

       7. On the date of the wrongful retention, the children, aged three and nine,

          were too young to have acclimatized to the State of New Jersey. In Tsai-Yi

          Yang, the District Court found, and the Court of Appeals affirmed, that a ten-year-

          old child was not of sufficient age or maturity for her views to be appropriately

          considered. Tsai-Yi Yang, 499 F.3d 259, 279.

       8. The parties last shared parental intent was to continue their established

          residence in Belgium, inclusive of their agreement of December 30, 2018.

          With a young child, the shared parental intent is generally expressed as the last



                                           16
Case 2:20-cv-04720-MCA-MAH        Document 121-1        Filed 05/25/22      Page 18 of 20
                                   PageID: 1905



          shared intention of the parents to establish a residence for the child, and is

          ideally based upon empirical evidence of historical actions taken by the parents.”

          Saltos v. Severino, (D.N.J. July 25, 2018), Civil Action No.: 18-8704, (JLL). To

          find evidence of a shared intent, the court has to look to the spectrum of parental

          behavior, from written agreements to actions. See Whiting v. Krassner, 391

          F.3d 540 at 542 (3d Cir. 2004, 391) (finding that the parties’ signed agreement to

          raise the child in Canada for two years and the parents’ initial compliance

          controlled her habitual residence), and in Feder v. Evans-Feder, 63 F.3d 217, 224

          (3d Cir. 1995)

       9. The written agreement of the parties of December 30, 2018 is evidence of a

          shared intent that controlled the children’s habitual residence to be Belgium.

          To find evidence of a shared intent, the court has to look to the spectrum of

          parental behavior, from written agreements to actions. See Whiting v. Krassner,

          391 F.3d 540 at 542 (3d Cir. 2004, 391) (finding that the parties’ signed

          agreement to raise the child in Canada for two years and the parents’ initial

          compliance controlled her habitual residence), and in Feder v. Evans-Feder, 63

          F.3d 217, 224 (3d Cir. 1995).

       10. The children’s perspective of their time in New Jersey from August 2018 to

          July 10, 2019 was that the settled purpose of the trip to New Jersey was

          temporary. Gitter v. Gitter, 396 F.3d 124, 132–33 (2d Cir. 2005) (determining

          that parental intent must be examined in order to better understand objective

          evidence of the child’s perspective); Silverman v. Silverman, 338 F.3d 886, 898

          (8th Cir. 2003) (holding that the lower court should have examined both the



                                          17
Case 2:20-cv-04720-MCA-MAH        Document 121-1        Filed 05/25/22      Page 19 of 20
                                   PageID: 1906



          settled purpose of the move from the children’s perspective as well as both

          parents’ intentions at the time of the move to Israel); Feder v. Evans-Feder, 63

          F.3d 217, 224 (3d Cir. 1995) (examining both the child’s perspective regarding

          settled purpose of the family’s move and the parent’s current intentions regarding

          habitual residence).

       11. Less than one year had elapsed from the date of the wrongful retention of

          July 10, 2019 and the filing of the Petitioner’s petition on April 21, 2020,

          therefore, the “well settled exception” does not apply to this case and this

          Court under Article 12 of the Hague Convention must order the return of the

          children to Belgium. Pursuant to Article 12 of the Hague Convention, which

          contains the "well-settled" exception, if a child has been wrongfully removed and

          "at the date of the commencement of the proceedings before the judicial or

          administrative authority of the Contracting State where the child is, a period of

          less than one year has elapsed from the date of the wrongful removal or

          retention," the Court shall order the return of the child. Hague Convention,

          Article 12 (emphasis added). However, the Court may choose not to return the

          child, "where the proceedings have been commenced after the expiration of the

          period of one year referred to in the preceding [sentence]," and it is demonstrated

          that "the child is now settled in its new environment." Id. The one-year period

          articulated in the exception is not subject to equitable tolling. Lozano v. Montoya

          Alvarez,134 S.Ct. 1224, 1231(2014).

       12. The habitual residence of the children was Belgium at the time of the

          wrongful retention. The children had spent their entire lives in Belgium, prior to



                                          18
Case 2:20-cv-04720-MCA-MAH            Document 121-1        Filed 05/25/22     Page 20 of 20
                                       PageID: 1907



              the temporary year trip to New Jersey, were too young at the time of the wrongful

              retention to acclimatize to New Jersey, and the last shared intent and settled

              purpose of the parties’ was clearly evidenced by the December 30, 2018 signed

              agreement for their children’s return to Belgium on July 10, 2019.

V.    CONCLUSION

              Based upon the foregoing reasons, Petitioner respectfully requests that the Court

grant his Petition pursuant to the Hague Convention and Order the return of his children

immediately to Belgium, their habitual residence before their wrongful retention by the

Respondent.


Dated: May 24, 2022
                                                          Respectfully submitted,

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                                              19
